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                    UNITED STATES COURT OF APPEALS
                                                                     FILED
                            FOR THE NINTH CIRCUIT
                                                                    NOV 26 2024
                                                                    MOLLY C. DWYER, CLERK
                                                                     U.S. COURT OF APPEALS




 ABDIRAHMAN ADEN KARIYE; et                    No. 23-55790
 al.,
                                               D.C. No. 2:22-cv-01916-FWS-GJS
               Plaintiffs - Appellants,
                                               U.S. District Court for Central
   v.                                          California, Los Angeles

 ALEJANDRO N. MAYORKAS,                        MANDATE
 Secretary of the U.S. Department of
 Homeland Security, in his official
 capacity; et al.,

               Defendants - Appellees,

 and

 MARK MORGAN, Commissioner of
 U.S. Customs and Border Protection, in
 his official capacity,

               Defendant.


        The judgment of this Court, entered October 04, 2024, takes effect this date.

        This constitutes the formal mandate of this Court issued pursuant to Rule

41(a) of the Federal Rules of Appellate Procedure.

                                               FOR THE COURT:

                                               MOLLY C. DWYER
                                               CLERK OF COURT
